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                                                  UNITED STATES DISTRICT COURT
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                      9                       NORTHERN DISTRICT OF CALIFORNIA
                  10
                                                            SAN JOSE DIVISION
                  11
                  12      In re Ex Parte Application of         ) CASE NO. 5:24-mc-80189
                  13                                            )
                          Sakura Miyawaki, Chae-won Kim,        ) APPLICANTS' EX PARTE
                  14      Jennifer Yunjin Huh, Kazuha Nakamura, ) APPLICATION FOR AN ORDER
                          and E.C.H.,                           ) PURSUANT TO 28 U.S.C. § 1782
                  15                                            ) AUTHORIZING DISCOVERY FOR
                                 Applicants.                    ) USE IN A FOREIGN CIVIL
                  16                                            ) PROCEEDING; AND
                  17                                            ) MEMORANDUM OF POINTS AND
                                                                ) AUTHORITIES
                  18                                            )
                  19
                  20           EX PARTE APPLICATION FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782

                  21             Pursuant to 28 U.S.C. Section 1782, Applicants Sakura Miyawaki, Chae-won Kim,

                  22      Jennifer Yunjin Huh, Kazuha Nakamura, and E.C.H. (the " Applicants") hereby move ex parte

                  23      for an order authorizing limited discovery for use in a civil matter in the Republic of Korea

                  24      ("Application"). As further stated in the proposed subpoena, the Applicants seek limited

                  25      discovery from Google LLC ("Google"), which is an entity located in this district.

                  26             United States district courts, including this district, have commonly decided Section 1782

                  27      applications on an ex parte basis because " parties will be given adequate notice of any discovery

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                      1   taken pursuant to the request and will then have the opportunity to move to quash the discovery

                      2   or to participate in it." IPCom GmbH & Co. KG v. Apple Inc., 61 F.Supp.3d 919, 922 (N.D. Cal.

                      3   2014) (citation omitted); see also In re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539

                      4   F.2d 1216, 1219 (9th Cir. 1976) (In discussing Section 1782, the court noted that "Letters

                      5   Rogatory are cust omarily received and appropriate action taken with respect thereto ex parte") ;

                      6   Frischknecht and Lindsey, Evidence gathering in aid of foreign proceedings in the US and

                      7   England, International Bar Association, August 4, 2021 at https://www.ibanet.org/evidence-

                      8   gathered-foreign-proceedings-US-England (last visited July 30, 2024). For the reasons set forth

                      9   herein, the Applicants respectfully request this Court decide this Application on an ex parte

                  10      basis.

                  11               This Section 1782 request is supported by the accompanying memorandum of points and

                  12      authorities, proposed subpoena, Exhibits and the Declarations of Mun Hui Kim and Joo Young

                  13      Kim, all of which are filed concurrently herewith.

                  14
                  15
                          Dated: July 30, 2024                 STREAM KIM HICKS WRAGE & ALFARO, PC.
                  16
                  17
                  18                                             /s/
                                                               Eugene Kim
                  19
                                                               Attorneys for Applicants
                  20                                           Sakura Miyawaki, et al.
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                      1                             MEMORANDUM OF POINTS AND AUTHORITIES

                      2                                               I.       INTRODUCTION

                      3              The Applicants are members of a female K-pop group named LE SSERAFIM, who have

                      4   come under attack by anonymous individuals (collectively, the " YouTubers") posting false ,

                      5   defamatory and harassing short-form videos on YouTube. To address these attacks on the

                      6   YouTube platform, the Applicants filed a civil lawsuit in the Republic of Korea (" Korea").

                      7   Unfortunately, without the YouTubers' personally identifiable information (" PII") the civil court

                      8   case cannot proceed.

                      9              To date, the Applicants attempts to locate the identities of these anonymous persons

                  10      through publicly available information have been unsuccessful. JY Kim Decl. ¶ 10. As a result,

                  11      the Applicants now seek the assistance of this Court.

                  12                 As set forth below, the Applicants satisfy all the statutory requirements under Section

                  13      1782, and the discretionary factors weigh in favor of the Court exercising its discretion to grant

                  14      this Application. Moreover, this Application does not prevent Google from objecting or moving

                  15      to quash the targeted requests made in the proposed subpoena, which is attached as Exhibit A.

                  16                                          II.          FACTUAL BACKGROUND

                  17                 A. Civil Matter in the Republic of Korea

                  18                 SOURCE MUSIC Co., Ltd. (" SOURCE MUSIC"), is a Korean entertainment company

                  19      and music label established in 2009 under the laws of Korea and its principal place of business is

                  20      in Korea. JY Kim Decl. ¶ 3. SOURCE MUSIC is a private company engaged in the

                  21      entertainment business with a focus on managing LE SSERAFIM, a female K-pop group that it

                  22      formed in 2022. Id. at ¶ 4. The group consists of five members: Sakura Miyawaki, Chae-won

                  23      Kim, Jennifer Yunjin Huh, Kazuha Nakamura, and E.C.H. (the "Applicants "). Id.

                  24                 An unidentified person using the YouTube handle" @issuefeed
                                                                                               " (" First YouTuber
                                                                                                                ")

                  25      published around sixteen (16) short-form videos ( " Shorts ") 1 about the Applicants between

                  26      ///

                  27
                          1
                              Short-form videos typically last up to 60 seconds. See https://www.youtube.com/intl/en_id/creators/shorts/.
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                      1   March 5, 2024 and May 29, 20242 on his or her YouTube channel titled " Issue Feed" (Korean

                      2   original:               ). Id. ¶ 5, Ex. 1. While the YouTube channel was active in or around June

                      3   2024, it is no longer accessible as of July 15, 2024. Id. ¶ 5.

                      4           The First YouTuber's Shorts contain false, defamatory and/or harassing statements about

                      5   the Applicants. Id. ¶ 6. These include but are not limited to the following:

                      6        1. In a Short titled "LE SSERAFIM SMART reference plagiarism controversy that even

                      7           foreigners are sensing" (English translation) dated March 5, 2024, 3 this YouTuber

                      8           defamed the Applicants by stating one of their songs copied two other artists. This Short

                      9           states that the Applicants' song 'SMART' copied Doja Cat's 'Woman' and Tyla's

                  10              'Water' in terms of the lyrics, melody, beat, and choreography. The YouTuber also

                  11              harassed and defamed the Applicants by reposting comments from other anonymous

                  12              individuals, including but not limited to the following quotes: "le ssserafim just doesn't

                  13              have a musical identity ... ," "This is just a watered down version of water by tyla and

                  14              woman by doja cat lmaoo, 'keep kpop korean' they said'," "smart by le sserafim literally

                  15              reminds me of water by tyla and clam down by rema and selena AND woman by doja."

                  16              This Short received approximately 2,17 0,000 views, 39,000 'likes' and 2,500 comments

                  17              as of June 10, 2024. Id. ¶ 6(a).

                  18           2. In a Short titled "Shocking reaction of foreigners after watching LE SSERAFIM' s

                  19              Coachella stage" (English translation) dated April 22, 2024,4 the First YouTuber defamed

                  20              and harassed the Applicants by stating the Applicants' "Coachella stage was a mess"

                  21              (English translation), "foreigner was shocked at the silent live music" (English

                  22              translation), and "the more difficult part was the second Coachella stage / they just went

                  23              on stage with AR just like Korean music shows / they totally gave up doing live music

                  24              and just did the choreography" (English translation). This YouTuber also harassed and

                  25              defamed the Applicants by reposting comments from other anonymous individuals,

                  26
                          2
                            All date and time references are based on Korea Standard Time (KST).
                  27      3
                            https://www.youtube.com/watch?v=7P54w8pJKjI; see JY Kim Decl. ¶ 6(a) for the Korean original text at issue.
                          4
                            https://www.youtube.com/watch?v=yKeLhE2yriU; see JY Kim Decl. ¶ 6(b) for the Korean original text at issue.
                  28                                                             7
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                      1             including but not limited to the following quotes: "I saw a comment saying that people in

                      2             karaoke sing better than them," "Those improved parts are 'talk singing', not really

                      3             singing," and "When they cant [sic] sing the part, they just scream." This Short received

                      4             approximately 244,000 views, 7,400 ' likes' and 420 comments as of June 10, 2024. Id. ¶

                      5             6(b).

                      6          3. In a Short titled "Creepy meaning behind LE SSERAFIM' s music video that now gives

                      7             you goose bumps" (English translation) dated April 30, 2024,5 the YouTuber defamed

                      8             and harassed the Applicants by implying they are associated with a religious cult: "LE

                      9             SSERAFIM's debut concept: fallen angel / thought it was going for a rebellious concept

                  10                involving rule breaking .. . / through recent incident, past music videos attracted attention

                  11                / creepy symbols came to light one after another ... / 1. Symbols about angels / Kazuha' s

                  12                wing on fire/ She rips it off with her own hand ... / Not the previous angel (Christianity)/

                  13                but made into their own angel" (English translation). This Short received approximately

                  14                2,130,000 views, 53,000 'likes' and 2,600 comments as of June 10, 2024. Id. ¶ 6(c).

                  15      These Shorts are no longer publicly available online because it appears that they have been

                  16      moved to"private." 6 Nevertheless, there is nothing that stops the First YouTuber from

                  17      reactivating the YouTube channel or starting a new account to post the same or similar Shorts. Id.

                  18                A different unidentified person using the YouTube handle " @shortchajang" ("Second

                  19      YouTuber") published around sixteen (16) Shorts about the Applicants between April 6, 2024

                  20      and May 28, 2024 on his or her YouTube channel titled " Short Chajang" (Korean original:

                  21                  ). Id. ¶ 7; Ex. 2. The YouTube channel is active as of July 30, 2024 7 and has

                  22      approximately 195,000 subscribers.

                  23                The Second YouTuber' s Shorts also contain false, defamatory and/or harassing

                  24      statements about the Applicants. Id. ¶ 8. These include but are not limited to the following:

                  25      II I
                  26      5
                            https://www.youtube.com/watch?v=G7923f3HErU; see JY Kim Decl. ¶ 6(c) for the Korean original text at issue.
                          6
                            When the public enters in the URL relating to the Shorts, m essage stating "Video unavailable. This video is
                  27           private." appears on the web page.
                          7
                            https://www.youtube.com/@shortchajang.
                  28                                                             8
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                      1           1. In a Short titled "What is the truth behind Chae-won Kim's body shape that

                      2               changed?" (English translation) dated April 21, 2024,8 this YouTuber defamed and

                      3               harassed Applicant Chae-won Kim by focusing on parts of her body and falsely

                      4               stating she received plastic surgery. This Short received approximately 1,957,000

                      5               views, 33 ,000 'likes' and 900 comments as of July 15, 2024. Id. ¶ 8(a).

                      6           2. In a Short titled " Sound even after taking off the microphone..? Bigger controversy

                      7               with LE SSERAFIM s second Coachella " (English translation) dated April 22, 2024,9

                      8               this Second YouTuber defamed the Applicants by alleging they were lip syncing: " LE

                      9               SSERAFIM s second Coachella stage is controversial / the current state is that there

                  10                  are people that say they improved and also other people that say they used too much

                  11                  AR / Because of the AR, even with the microphone removed apparently there was

                  12                  still transmission of voice" (English translation). This Short received approximately

                  13                  124,000 views, 1,900 'likes' and 11 0 comments as of July 15, 2024. Id. ¶ 8(b).

                  14              3. In a Short titled " LE SSERAFIM looking so anxious these days.. " (English

                  15                  translation) dated May 4, 2024,10 the YouTuber defamed and harassed the Applicants

                  16                  by falsely stating: " Controversy with a member involved with school violence and

                  17                  also provocative choreography and outfit / controversy involving plagiarism / encore

                  18                  live / controversial skills " (English translation). This Short received approximately

                  19                  367,000 views, 5,200 'likes' and 560 comments as of July 15, 2024. Id. ¶ 8(c).

                  20              Both YouTubers' Shorts contain numerous false, defamatory and/or harassing statements
                  21      about the Applicants, all of which have inflicted significant reputational harm to the

                  22      Applicants and constitute torts under Korean civil law. Id. ¶¶ 9, 12, 14; MH Kim Decl. ¶¶ 5-7.

                  23      Ill
                  24      Ill
                  25      Ill
                  26      8
                            https://www.youtube.com/watch?v=ya88sVRAY94; see JY Kim Decl. ¶ 8(a) for the Korean original text at issue.
                          9
                            https://www.youtube.com/watch?v=JzAlr69p6bo; see JY Kim Decl. ¶ 8(b) for the Korean original text at issue.
                  27      10
                             https://www.youtube.com/watch?v=GhXhQdnwoWY; see JY Kim Decl. ¶ 8(c) for the Korean original text at
                               issue.
                  28                                                            9
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                      1           Both YouTubers published their Shorts in Korean and used Korean language words and

                      2   expressions that appear to indicate they are native Korean speakers located in Korea, as opposed to

                      3   non-Korean citizens residing outside of Korea. JY Kim Decl. ¶ 11; MH Kim Decl. ¶ 4.

                      4           On June 12, 2024, the Applicants filed a civil lawsuit in Korea against the YouTubers

                      5   under Korean law ("Civil Matter"). The Applicants claimed defamation pursuant to Articles 750

                      6   and 751 of the Civil Act of Korea. JY Kim Decl. ¶ 12; MH Kim Decl. ¶ 5.

                      7           B. The Applicants Previously Filed an Ex Parte Application under Section 1782

                      8               Based on Criminal Complaint, Which was Denied.

                      9           On May 31, 2024, the Applicants filed an Ex Parte Application for an Order Pursuant to

                  10      28 U.S.C. § 1782 Authorizing Discovery for Use in a Foreign Proceeding, Case No. 5:24-mc-

                  11      80132-EJD ("First Ex Parte Application"). The First Ex Parte Application was based on a

                  12      criminal complaint that the Applicants lodged with the Seoul Yongsan Police Station, whereas

                  13      this Ex Parte Application is based on a civil lawsuit that the Applicants filed with the Korean

                  14      courts. On June 5, 2024, the district judge denied the First Ex Parte Application because of

                  15      concerns about the Applicants use of Section 1782 in aid of a foreign criminal investigation.

                  16              This Ex Parte Application is distinguishable from the First Ex Parte Application because

                  17      it is based on a civil lawsuit in Korea. The Court in the First Ex Parte Application held that the

                  18      criminal authorities in Korea should pursue the identity of the anonymous users through the

                  19      Treaty of Mutual Legal Assistance m Criminal Matters (" MLAT"). However, MLAT 1s
                  20      inapplicable here because this Ex Parte Application is based on a pending Civil Matter.

                  21              C. The Applicants Seek Limited Discovery from Google for a Civil Case

                  22              Google is an American multinational company with its principal place of business located

                  23      at 1600 Amphitheatre Parkway, Mountain View, California 94043. MH Kim Decl. ¶ 9, Ex. 1.

                  24      Google owns and operates YouTube, which is one of the world's largest social media platforms

                  25      where users can share videos and post comments on message boards. 11 To upload content onto

                  26
                          11
                            See Fed. R. Evid. 201(b) (the information provided about Google and the YouTube platform are generally known
                  27      within the court's jurisdiction, or can be accurately and readily verified from the sources noted below whose
                          accuracy cannot be reasonably questioned); WebWise.ie, Explained: What is YouTube?,
                  28                                                            10
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                      1   YouTube, users need to log into their Google account after they initially create a YouTube

                      2   channel or handle.12

                      3           Without knowing the identities of the YouTubers, the Applicants are unable to serve the

                      4   civil complaint on the YouTubers and thus cannot proceed with the Civil Matter. JY Kim Decl. ¶

                      5   13; MH Kim Decl. ¶¶ 8, 14. The subpoena is narrowly tailored to seek documents from Google

                      6   that will reveal the YouTubers' identities through his or her PII in the subject Google accounts.

                      7   MH Kim Decl. ¶¶ 8, 14.

                      8                                 III.         JURISDICTION AND VENUE

                      9           This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this

                  10      Application is made under a federal statute 28 U.S.C. § 1782(a). Venue in this district is proper

                  11      under 28 U.S.C. § 1391 and 28 U.S.C. § 1782(a) because the party from whom discovery is

                  12      sought "resides or is found" in this District, as discussed herein.
                  13                                           IV.       LEGAL STANDARD

                  14              This Court 1s authorized to grant a Section 1782 application "where three general

                  15      requirements are satisfied: (1) the person from whom the discovery is sought resides or is

                  16      found in the district of the district court where the application is made; (2) the discovery is for

                  17      use in a proceeding in a foreign or international tribunal '· and (3) the application is made by a
                                                                                      ,,,
                  18      foreign or international tribunal or any interested person. Khrapunov v. Prosyankin, 931 F.3d

                  19      922, 925 (9th Cir. 2019); see also 28 U.S.C. § 1782(a).

                  20              In Intel Corp. v. Advanced Micro Devices, Inc., the Supreme Court identified four factors

                  21      that district courts should consider when exercising their discretion to grant Section 1782

                  22      discovery applications:

                  23              [1] whether " the person from whom discovery is sought is a participant in the
                                  foreign proceeding" ; [2] " the nature of the foreign tribunal, the character of the
                  24              proceedings underway abroad, and the receptivity of the foreign government or
                                  the court or agency abroad to U.S. federal-court judicial assistance" ; [3] whether
                  25              the request " conceals an attempt to circumvent foreign proof-gathering

                  26      https://www.webwise.ie/parents/what-is-youtube/ (last visited July 30, 2024); YouTube, Terms of Service (dated
                          January 5, 2022), https://www.youtube.com/static?template=terms (last visited July 30, 2024).
                  27      12
                             Google LLC, YouTube Help, Create a YouTube channel,
                          https://support.google.com/youtube/answer/1646861?hl=en (last visited July 30, 2024).
                  28                                                             11
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                                  restrictions or other policies of a foreign country or the United States " ; and [4]
                      1           whether the request is " unduly intrusive or burdensome."
                      2   In re Premises Located at 840 140th Ave. NE, Bellevue, Wash., 634 F.3d 557, 563 (9th Cir. 2011)
                      3   (quoting Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004)).
                      4           In exercising this discretion, district courts consider the twin aims of the statute:
                      5   " providing efficient assistance to participants in international litigation, and encouraging foreign
                      6   countries by example to provide similar assistance to our [U.S.] courts." Intel, 542 U.S. at 252.
                      7   "Section 1782 is a provision for assistance to tribunals abroad. It does not direct United States
                      8   courts to engage in comparative analysis to determine whether analogous proceedings exist [in
                      9   the U.S.] " Id. at 263.
                  10                                           V.        ARGUMENT
                  11         A. This Application Meets All of the Statutory Requirements of Section 1782
                  12              As set forth herein, this Application meets the requirements of Section 1782.
                  13              First, Google "resides" or "is found" in this district within the meaning of Section 1782,
                  14      because its principal place of business is Mountain View, California, which is located in this
                  15      judicial district. MH Kim Decl. ¶ 9, Ex. 1; see also United States v. Google LLC,        F. Supp. 3d
                  16           , 2023 WL 5725518, at *9 (N.D. Cal. 2023) (citations omitted).
                  17              Second, the Applicants seek discovery to proceed with the Civil Matter in Korea. MH
                  18      Kim Decl. ¶¶ 8, 9, 14. A proceeding in the foreign jurisdiction need only be "within reasonable
                  19      contemplation," rather than be " pending" or " imminent," to satisfy this second statutory
                  20      requirement. Intel, 542 U.S. at 259. Here, the Applicants have brought a civil action against the
                  21      YouTubers in Korea and are seeking the YouTubers' identities to proceed with the Civil Matter.
                  22      MH Kim Decl. ¶¶ 5, 8, 14; see also In re Request for Jud. Assistance from Seoul Cent. Dist. Ct.,
                  23      No. 23-mc-80016-BLF, 2023 WL 2394545, at *3 (N.D. Cal. Mar. 7, 2023) (finding the second
                  24      statutory factor met where discovery was sought for use in "a civil proceeding in a foreign
                  25      tribunal-the Seoul Central District Court").
                  26              Third, the Applicants brought the Civil Matter because the anonymous YouTubers
                  27      committed acts against them that constitute violations of civil law. MH Kim Decl. ¶¶ 5-7. Thus,
                  28                                                       12
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                      1   the Applicants satisfy the third statutory requirement of being an "interested person." Intel, 542

                      2   U.S. at 256-57 ("No doubt litigants are included among, and may be the most common example

                      3   of, the 'interested person' who may invoke [Section] 1782"); see also Akebia Therapeutics, Inc.
                      4   v. FibroGen, Inc., 793 F.3d 1108, 1110 (9th Cir. 2015) (an "interested person" includes "litigants

                      5   before foreign or international tribunals . . . as well as any other person whether he [or she] be
                      6   designated by foreign law or international convention or merely possess a reasonable interest in

                      7   obtaining [judicial] assistance.").

                      8      B. Each of the Intel Discretionary Factors Weigh in Favor of Granting this Application

                      9          The discretionary factors identified by the Supreme Court in Intel weigh heavily in favor

                  10      of this Court granting this Application.

                  11             1. Google is a nonparticipant in the Korean Civil Matter

                  12             The first factor is whether " the person from whom discovery is sought is a participant in

                  13      the foreign proceeding." Intel, 542 U.S. at 264. The Supreme Court recognized that the district
                  14      courts' assistance is needed the most when the evidence is sought from a non-participant in a
                  15      foreign proceeding. Id. " [N]onparticipants in the foreign proceeding may be outside the foreign

                  16      tribunal's jurisdictional reach; hence, their evidence, available in the United States, may be
                  17      unobtainable absent§ 1782(a) aid." Id.
                  18             Google is not named as a party in the Korean Civil Matter. MH Kim Decl. ¶ 9. Since

                  19      Google and the requested documents are located in this District, which is outside the Korean

                  20      courts jurisdictional reach over nonparticipants, evidence available from Google through a

                  21      United States federal court proceeding is not obtainable by the Applicants in Korea absent

                  22      Section 1782(a). Id. ¶ 9; Ex. 1; see Intel, 542 U.S. at 264. Accordingly, this first factor weighs

                  23      heavily in favor of granting this Application.

                  24             2. Korean Tribunals are receptive to U.S. judicial assistance

                  25             Next, the Supreme Court requires this Court to consider ''the nature of the foreign

                  26      tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

                  27      government or the court or agency abroad to U.S. federal-court judicial assistance." Intel, 542

                  28                                                       13
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                      1   U.S. at 264. "This factor focuses on whether the foreign tribunal is willing to consider the
                      2   information sought." In re Ex Parte Application of Varian Med Sys. Int'! AG, No. 16-mc-80048-
                      3   MEJ, 2016 WL 1161568, at *4 (N.D. Cal. Mar. 24, 2016). There is a long history of Korean

                      4   tribunals requesting and receiving U.S. judicial assistance under Section 1782. See In re Request

                      5   for Judicial Assistance from Seoul Dist. Criminal Court, Seoul, Korea, 428 F.Supp. 109, 114

                      6   (N.D. Cal. 1977) (granting Seoul District Criminal C ourt's request for bank records) ; In re

                      7   Request for Int'/ Judicial Assistance from the Nat'/ Court Admin. of the Republic of Korea, No.

                      8   C15-80069 MISC LB, 2015 WL 1064790, at *1-2 (N.D. Cal. Mar. 11, 2015) (granting Korean

                      9   National Court Administration' s request for information and documents from Google , Inc.);

                  10      Seoul Cent. Dist. Ct., 2023 WL 2394545, at *1 (granting Seoul Central District Court's request

                  11      seeking information to identify four anonymous Instagram users who defamed or insulted a

                  12      plaintiff in a Korean civil proceeding).

                  13             Additionally, in "the absence of authoritative proof that a foreign tribunal would reject
                  14      evidence obtained with the aid of Section 1782," courts tend to " err on the side of permitting

                  15      discovery." See In re Ex Parte Application of Varian Med Sys. Int'/ AG, 2016 WL 1161568, at

                  16      *4; see also Palantir Techs., Inc. v. Abramowitz, 415 F.Supp.3d 907, 915 (N.D. Cal. 2019)

                  17      (citation omitted). In other words, discovery is favored unless there is clear evidence that the

                  18      foreign tribunal would reject the evidence sought.

                  19             Here, the Korean courts are receptive to the U.S. federal court's assistance in discovery

                  20      matters, including through Section 1782 requests for information to identify persons who

                  21      anonymously publish statements on social media platforms. MH Kim Decl. ¶ 10. By contrast,

                  22      there are no Korean laws or policies that limit or otherwise prevent the U.S. federal courts from

                  23      assisting the Applicants obtain discovery in order to identify the YouTubers in the manner

                  24      proposed in this Application. Id. ¶¶ 11-12. As stated above, Korean courts have a history of

                  25      seeking judicial assistance from federal courts and courts in this district have in the past granted

                  26      Section 1782 discovery for use in Korean court proceedings. For the foregoing reasons, this

                  27      second factor weighs heavily in favor of granting this Application.

                  28                                                      14
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                      1          3. The Applicants are not seeking to circumvent any restrictions or policies on

                      2                 proof gathering

                      3          The third factor directs the court to consider " whether the [Section] 1782(a) request

                      4   conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of a

                      5   foreign country or the United States." Intel, 542 U.S. at 265. As a court in this district previously

                      6   held, "[t]his factor will weigh in favor of discovery if there is nothing to suggest that [the

                      7   applicant] is attempting to circumvent foreign proof gathering restrictions. '" In re Starship

                      8   Entm't Co., Ltd., No. 23-mc-80147-BLF, 2023 WL 3668531, at *3 (N.D. Cal. May 24, 2023)

                      9   (quoting In re Google Inc., No. 14-mc-80333-DMR, 2014 WL 7146994, at *3 (N.D. Cal. Dec.

                  10      15, 2014)).

                  11                       a. The Applicants are Seeking PII to Proceed with the Civil Matter
                  12             In Korea, the civil courts conduct service of process on defendants based on the

                  13      information provided by plaintiffs. MH Kim Decl. ¶ 8. Here, the Applicants are not attempting to

                  14      circumvent any " foreign proof-gathering restrictions" or " other policies" of Korea or the United

                  15      States. Id. ¶ 13. In fact, the opposite is true. This Section 1782 Application is the only way for

                  16      the Applicants to obtain the YouTubers' information. Id. ¶¶ 8, 14; JY Kim Decl. ¶ 10. The

                  17      Applicant s' Korean counsel confirms this information is needed to pursue the Civil Matter in

                  18      Korea and anticipates that the requested PII will be admissible in the Korean court. MH Kim

                  19      Decl. ¶¶ 8, 13-14.

                  20                       b. The First Amendment Does Not Apply

                  21             In United States v. Google LLC,          F. Supp. 3d        , 2023 WL 5725518 (N.D. Cal.

                  22      2023), a court in this district analyzed the issue of the First Amendment in the context of a

                  23      Section 1782 request seeking an anonymous individual's PII ("Name, Gender, Phone Number,

                  24      Date of Birth, etc.") from Google related to a Korean civil action.

                  25             First, the court recognized that"Foreign citizens who are outside United States territory .

                  26      . . do not possess any rights under the United States Constitution " United States v. Google LLC,

                  27      2023 WL 5725518, at *12 (citations omitted).

                  28                                                      15
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                      1          Second, "[t] he court f[oun]d persuasive several recent opinions concluding that . . . U.S.

                      2   free-speech principles should not be determinative factors " in evaluating the third discretionary

                      3   factor " where the evidence does not indicate that the anonymous speakers are entitled to First

                      4   Amendment protections." Id. at *12-13 (citing Hey, Inc. v. Twitter, Inc., No. 22-mc-80035-

                      5   DMR, 2023 WL 3874022, at *7-8 (N.D. Cal. June 6, 2023) (holding third discretionary factor

                      6   did not weigh against granting § 1782 application seeking the identity of anonymous speaker,

                      7   where there was no evidence indicating that the speaker was entitled to First Amendment

                      8   protections); Takagi v. Twitter, Inc., No. 22-mc-80240-VKD, 2023 WL 1442893, at *7 (N.D.

                      9   Cal. Feb. 1, 2023) (rejecting assertion that a subpoena seeking identity of anonymous speaker

                  10      circumvented the U.S.'s "pro-free speech policy," because "First Amendment protections do not

                  11      apply to non-citizens outside the territory of the United States"); Zuru, Inc. v. Glassdoor, Inc.,

                  12      614 F.Supp.3d 697, 707 (N.D. Cal. 2022) ("Although the United States may have a pro -free-

                  13      speech policy, ... it doesn't reflect a U.S. policy of protecting free speech around the world.") ).

                  14             As set forth in the declarations supporting this Application, the words and phrases used in

                  15      the original Korean language Shorts indicate that the YouTubers are more likely than not native

                  16      Korean speakers and reside in Korea. JY Kim Decl. ¶ 11; MH Kim Decl. ¶ 4. Moreover, there is

                  17      nothing to indicate that the statements were made by a U.S. citizen. Id.

                  18             Third, the court noted that the applicant alleged that the anonymous individual knowingly

                  19      made false statements about the applicant, which if taken as true "likely would not be protected

                  20      by the First Amendment even in the United States." United States v. Google LLC, 2023 WL

                  21      5725518, at *13 (citing In re Tagami, No. 21-mc-80153-JCS, 2021 WL 5322711, at *3 n.1 (N.D.

                  22      Cal. Nov. 16, 2021); see Milkovich v. Lorain J. Co., 497 U.S. 1, 22 (1990) (discussing the

                  23      necessary balance between ensuring "First Amendment protection ford efendants in defamation

                  24      actions" and recognizing society's "pervasive and strong interest in preventing and redressing

                  25      attacks upon reputation") ). Here, the Applicants allege defamation, harassment and false

                  26      statements. JY Kim Decl. ¶¶ 9, 12, 14; MH Kim Decl. ¶¶ 5-7.

                  27             For the foregoing reasons, the third factor weighs in favor of granting this Application.

                  28                                                       16
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                      1          4. The Applicants' request is not unduly intrusive or burdensome

                      2          The last factor is whether the discovery requested is "unduly intrusive or burdensome."

                      3   Intel, 542 U.S. at 265. The Supreme Court noted that requests that are too burdensome in part

                      4   may be ''trimmed" so that the requests can be partially authorized. Id.

                      5          While requests that seek confidential information or are broad "fishing expedition" for

                      6   irrelevant information may be unduly intrusive or burdensome, In re Ex Parte Application of

                      7   Qualcomm Inc., 162 F.Supp.3d 1029, 1043 (N.D. Cal. 2016), the Applicant s' requests are narrow

                      8   in scope and number. The Applicants proposed subpoena is limited to requests for documents

                      9   about the YouTubers names, dates of birth, genders, phone numbers, and addresses, which the

                  10      Applicants need to proceed with the Civil Matter and which Google maintains in the regular

                  11      course of business. See Ex. A; MH Kim Decl. ¶¶ 8-10, 14; see also United States v. Google LLC,

                  12      2023 WL 5725518, at *15; In re Frontier Co., Ltd., No. 19-mc-80184-LB, 2019 WL 3345348, at

                  13      *5 (N.D. Cal. Jul. 25, 2019) (name, address, email, phone number, and name on credit cards,

                  14      etc.); In re Med. Corp. Seishinkai, No. 21-mc-80160-SVK, 2021 WL 3514072, at *4-5 (N.D.

                  15      Cal. Aug. 10, 2021) (granting discovery from Google under Section 1782); Seoul Cent. Dist. Ct.,

                  16      2023 WL 2394545, at *4 (allowing discovery of information from Meta regarding the names,

                  17      dates of birth, email addresses, cell phone numbers, and IP addresses associated with specific

                  18      user accounts where the request was "narrowly tailored to seeking the information that is

                  19      necessary to identify the identity of the putative defendants") .

                  20             Additionally, judges in this district have previously recognized that a subpoena that does

                  21      not seek the content of any communications associated with an account at issue does not violate

                  22      the Stored Communications Act. See, e.g., Optiver Australia Pty. Ltd. v. Tibra Trading Pty. Ltd.,

                  23      Case No. 12-cv-80242 EJD, 2013 WL 256771, at *2 (N.D. Cal. Jan. 23, 2013) (discussing

                  24      prohibitions of the Stored Communications Act, 18 U.S.C. § 2701 et seq.); In re Ex Parte

                  25      Application of Akiko Isogai, Case No. 22-mc-80327 SVK, 2023 WL 3035418, at *3 (N.D. Cal.

                  26      Jan. 20, 2023) (''the subpoena seeks only the names and addresses of the person(s) whose credit

                  27      card is associated with the Google accounts and does not seek disclosure of credit card numbers

                  28                                                       17
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                      1   or any other sensitive information."); In re Med. Corp. H&S, No. 19-MC-80058-VKD, 2019 WL
                      2   1230440, at *4 (N.D. Cal. Mar. 15, 2019) (limiting a subpoena for account-user credit card

                      3   information to the name and address). Here, the proposed subpoena does not seek the content of

                      4   any communications, nor does it seek sensitive financial information (e.g., credit card numbers,

                      5   bank account numbers, or electronic commerce account numbers).

                      6          Finally, the Applicants narrowed the scope of the subpoena as compared to the prior

                      7   subpoena. Prior to this filing, the Applicants' counsel provided the proposed subpoena and
                      8   proposed order to Google's outside counsel. While Google reserved its right to oppose the
                      9   subpoena at a later time, it does not oppose the filing of these documents.

                  10             Accordingly, this last factor weighs in favor of the Applicants because its requests for

                  11      documents are narrow, are not intrusive or burdensome, and Google has a right to object, or seek

                  12      a protective order.

                  13                                         VI.       CONCLUSION

                  14             For the reasons stated above, the Applicants respectfully request this Court exercise its

                  15      discretion under Section 1782 to grant this Application and permit the Applicants to issue the

                  16      proposed subpoena to Google in aid of the Korean civil proceedings.

                  17
                  18      Dated: July 30, 2024                  STREAM KIM HICKS WRAGE & ALFARO, PC.
                  19
                  20
                                                                  /s/
                  21                                            Eugene Kim
                  22                                            Attorneys for Applicants
                  23                                            Sakura Miyawaki, et al.
                  24
                  25
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                  28                                                      18
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                      1                          CERTIFICATE OF COMPLIANCE
                      2   The undersigned, counsel of record, certifies that this brief contains 4,537 words,
                      3   which complies with the word limit of L.R. 11-6.1.
                      4
                          Dated: July 30, 2024             STREAM KIM HICKS WRAGE & ALFARO, PC.
                      5
                      6
                      7                                      /s/
                                                           Eugene Kim
                      8
                                                           Attorneys for Applicants
                      9                                    Sakura Miyawaki, et al.
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STREAM|KIM                                                   19
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                     Case 5:24-mc-80189-PCP Exhibit
                                            DocumentA1 Filed 07/30/24 Page 20 of 24
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of California

  In re Ex Parte Application of Sakura Miyawaki, et al.
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 5:24-mc-80189
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                      Google LLC

                                                       (Name of person to whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



 Place: By email to: eugene.kim@streamkim.com                                           Date and Time:
        By mail to: Eugene Kim, 34 77 McKee Rd #1012
        San Jose, CA 95127

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 I Place:                                                                             I Date and Time:




        The following provisions of Fed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)                                 Sakura Miyawaki,
Chae-won Kim, Jennifer Yunjin Huh, Kazuha Nakamura, and E.C.H.                                   , who issues or requests this subpoena, are:
Eugene Kim, 3403 Tenth Street, Suite 700, Riverside, CA 92501; eugene.kim@streamkim.com; (951) 783-9470
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 5:24-mc-80189-PCP Exhibit
                                            DocumentA1 Filed 07/30/24 Page 21 of 24
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                             for services, for a total of $                0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                      Case 5:24-mc-80189-PCP Exhibit
                                             DocumentA1 Filed 07/30/24 Page 22 of 24
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (!)Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees-on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45( c);                                                         produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                ATTACHMENT A




                                                I.       Definitions

         A.       The term “Document” or “Documents” shall mean a writing, as defined in Rule
                  34(a) of the Federal Rules of Civil Procedure and related Rule 1001 of the Federal
                  Rules of Evidence, and includes the original or a copy of drawings, graphs, charts,
                  photographs, sound recordings, images, other data compilations and electronically
                  stored information, and every other means of recording upon any tangible thing
                  and form of communicating or representation, including letters, words, pictures,
                  sounds, or symbols, or combination of them.

         B.       The term “Google Account No. 1” means the Google account(s) and/or YouTube
                  account(s) registered or otherwise linked to the person(s) who created, uses and/or
                  otherwise logs in to the YouTube channel titled “Issue Feed” (Korean original:
                  “이슈피드”) which was accessible from the URL
                  https://www.youtube.com/@issuefeed.1

         C.       The term “Google Account No. 2” means the Google account(s) and/or YouTube
                  account(s) registered or otherwise linked to the person(s) who created, uses and/or
                  otherwise logs in to the YouTube channel titled “Short Chajang” (Korean original:
                  “숏차장”) which is accessible from the URL
                  https://www.youtube.com/@shortchajang.

         D.       The term “Access Logs” means the dates, times, Internet Protocol addresses, port
                  numbers and any other related information that is kept by Google LLC when
                  users login or upload videos to his/her/its Google account(s).

                                       II.       Requests for Production

         1.       Documents sufficient to identify the name(s), date(s) of birth, gender(s), phone
                  number(s), and address(es) of the person(s) who created, used and/or otherwise
                  logged in to Google Account No. 1.




1 It appears that this channel has been deleted or deactivated as of July 9, 2024.


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     To the extent that Access Logs are provided to identify the user of Google
     Account No. 1, this request seeks a minimum of the last ten (10) logins and the
     time zone associated with the timestamps in those Access Logs.

2.   Documents sufficient to identify the name(s), date(s) of birth, gender(s), phone
     number(s), and address(es) of the person(s) with credit card(s), bank account(s)
     and/or other electronic commerce details registered with Google Account No. 1.

     This request does not seek the actual credit card numbers, bank account numbers
     or the electronic commerce account numbers or passwords, and it does not seek
     any financial transaction information.

3.   Documents sufficient to identify the name(s), date(s) of birth, gender(s), phone
     number(s), and address(es) of the person(s) who created, uses and/or otherwise
     logs in to and Google Account No. 2.

     To the extent that Access Logs are provided to identify the user of Google
     Account No. 2, this request seeks a minimum of the last ten (10) logins and the
     time zone associated with the timestamps in those Access Logs.


4.   Documents sufficient to identify the name(s), date(s) of birth, gender(s), phone
     number(s), and address(es) of the person(s) with credit card(s), bank account(s)
     and/or other electronic commerce details registered with Google Account No. 2.

     This request does not seek the actual credit card numbers, bank account numbers
     or the electronic commerce account numbers or passwords, and it does not seek
     any financial transaction information.




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